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 1   LAFAYETTE & KUMAGAI LLP
     Gary T. Lafayette (SBN 88666)
 2   Brian H. Chun (SBN 215417)
     1300 Clay Street, Suite 810
 3
     Oakland, California 94612
 4   Tel. 415.357.4600
     bchun@lkclaw.com
 5

 6   PATTERSON BELKNAP WEBB & TYLER LLP
     Jane Metcalf (admitted pro hac vice)
 7   jmetcalf@pbwt.com
 8   Henry J. Ricardo (admitted pro hac vice)
     hjricardo@pbwt.com
 9   1133 Avenue of the Americas
     New York, New York 10036
10   Tel: (212) 336-2000
     Fax: (212) 336-2222
11

12
     Attorneys for Defendant InComm Financial Services, Inc.
13
                              UNITED STATES DISTRICT COURT
14
                            NORTHERN DISTRICT OF CALIFORNIA
15

16
   PEOPLE OF THE STATE OF CALIFORNIA,
17 acting by and through San Francisco City Attorney
   DAVID CHIU                                                  Case No. 23-cv-06456
18
                                Plaintiff,
19
           vs.
20
   INCOMM FINANCIAL SERVICES, INC.; TBBK                       DECLARATION OF JANE
21 CARD SERVICES, INC.; SUTTON BANK;                           METCALF IN SUPPORT OF
   PATHWARD N.A.; and DOES 1 through 10                        DEFENDANT INCOMM’S
22                              Defendants.                    OPPOSITION TO MOTION TO
                                                               REMAND
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         DECLARATION OF JANE METCALF IN SUPPORT OF DEFENDANT INCOMM’S
                        OPPOSITION TO MOTION TO REMAND
                                       -1-
     Case 3:23-cv-06456-WHO Document 30-1 Filed 02/16/24 Page 2 of 3




 1 I, Jane Metcalf, declare as follows:

 2          1.     I am a member in good standing of the bar of the State of New York and my pro
 3 hac vice application to this Court was granted on December 15, 2023. I am a member of Patterson

 4 Belknap Webb & Tyler LLP, counsel for InComm Financial Services, Inc. (“InComm’’). I submit

 5 this declaration in support of InComm’s Opposition to Plaintiff’s Motion to Remand.

 6          2.     I have personal knowledge of the facts set forth herein.
 7          3.     Attached hereto as Exhibit A is a true and correct copy of the article “Target gift
 8 card scammer caught with thousands of tampered cards,” published by Fox 26 News on December

 9 12, 2023, and last accessed at the URL https://kmph.com/news/local/target-gift-card-scammer-

10 caught-with-thousands-of-tampered-cards on February 16, 2024.

11          4.     Attached hereto as Exhibit B is a true and correct copy of the new release “Man
12 Indicted in Coshocton County for Gift-Card Counterfeiting Scheme,” published by the Ohio

13 Attorney General’s Office on January 22, 2024, and last accessed at the URL

14 https://www.ohioattorneygeneral.gov/Media/News-Releases/January-2024/Man-Indicted-in-

15 Coshocton-County-for-Gift-Card-Cou on February 16, 2024.

16          5.     Attached hereto as Exhibit C is a true and correct copy of the article “InComm
17 Receives Patent on Innovative Packaging Technique” published by PR Newswire on July 11, 2017,

18 and last accessed at the URL https://www.prnewswire.com/news-releases/incomm-receives-

19 patent-on-innovative-packaging-technique-300486039.html on February 16, 2024.

20          6.     Attached hereto as Exhibit D is a true and correct screenshot from the website of
21 the Better Business Bureau (“BBB”), which shows the first page of complaints, number of

22 complaints closed in the last 12 months, and BBB Rating & Accreditation for InComm Financial

23 Services, Inc., last accessed at the URL https://www.bbb.org/us/ga/columbus/profile/credit-cards-

24 and-plans/incomm-financial-services-inc-0743-4118/complaints on February 16, 2024.

25          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
26 and correct.
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         DECLARATION OF JANE METCALF IN SUPPORT OF DEFENDANT INCOMM’S
                        OPPOSITION TO MOTION TO REMAND
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     Case 3:23-cv-06456-WHO Document 30-1 Filed 02/16/24 Page 3 of 3




 1
     Dated: New York, New York
 2

 3          February 16, 2024
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 6                                     By:   ________________
 7                                           Jane Metcalf
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        DECLARATION OF JANE METCALF IN SUPPORT OF DEFENDANT INCOMM’S
                       OPPOSITION TO MOTION TO REMAND
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